Case 2:21-cv-07624-DMG-KES       Document 41-1   Filed 08/30/22   Page 1 of 42 Page
                                      ID #:771


  1   DANIEL M. PETROCELLI (S.B. #97802)
      dpetrocelli@omm.com
  2   MOLLY M. LENS (S.B. #283867)
      mlens@omm.com
  3   DANIELLE FEUER (S.B. #324174)
      dfeuer@omm.com
  4   O’MELVENY & MYERS LLP
      1999 Avenue of the Stars, 8ᵗʰ Floor
  5   Los Angeles, California 90067-6035
      Telephone: +1 310 553 6700
  6   Facsimile: +1 310 246 6779
  7   Attorneys for Plaintiff Counterclaim-
      Defendant Marvel Characters, Inc.
  8   (additional counsel on page two)
  9                  IN THE UNITED STATES DISTRICT COURT
 10                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 11    MARVEL CHARACTERS, INC.,                  Case No.: 2:21-cv-07624-DMG-KES
 12
                   Plaintiff,                    [DISCOVERY DOCUMENT:
 13                                              REFERRED TO MAGISTRATE
             v.                                  JUDGE KAREN E. SCOTT]
 14
       MICHELE HART-RICO and BUZ                 JOINT STIPULATION ON
 15
       DONATO F. RICO III,                       MARVEL CHARACTERS, INC.’S
 16                                              MOTION TO COMPEL
                   Defendants.
 17                                              DEFENDANTS’ PRODUCTION OF
                                                 DOCUMENTS
 18
 19    MICHELE HART-RICO and BUZ                 Date: September 20, 2022
 20    DONATO F. RICO III,                       Time: 10:00 a.m.
 21                                              Courtroom: 6D
                   Counterclaimants,
 22          v.                                  Non-expert Discovery Cutoff:
 23                                              November 18, 2022
       MARVEL CHARACTERS, INC. and               Pretrial Conf.: May 9, 2023
 24    DOES 1-10, inclusive,                     Trial: June 6, 2023
 25                Counterclaim-Defendants.
 26
 27
 28
Case 2:21-cv-07624-DMG-KES    Document 41-1       Filed 08/30/22   Page 2 of 42 Page
                                   ID #:772


  1   ALLEN W. BURTON (admitted pro hac vice)
      aburton@omm.com
  2   O’MELVENY & MYERS LLP
      Times Square Tower
  3   7 Times Square
      New York, New York 10036-6537
  4   Telephone: +1 212 326 2000
      Facsimile: +1 212 326 2061
  5
      KENDALL TURNER (S.B. #310269)
  6   kendallturner@omm.com
      O’MELVENY & MYERS LLP
  7   1625 Eye Street, NW
      Washington, DC 20006-4061
  8   Telephone: +1 202 383 5300
      Facsimile: +1 202 383 5414
  9
      Attorneys for Plaintiff and Counterclaim-
 10   Defendant Marvel Characters, Inc.
      (ctd.)
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
Case 2:21-cv-07624-DMG-KES                      Document 41-1            Filed 08/30/22          Page 3 of 42 Page
                                                     ID #:773


  1                                                TABLE OF CONTENTS
  2   I.        MCI’S INTRODUCTION .......................................................................... - 1 -
  3   II. THE RICOS’ INTRODUCTION ............................................................... - 3 -
  4   III. MCI’S CONTENTIONS ........................................................................... - 6 -
  5        A. Defendants Must Commit to a Date Certain to Complete Their
           Productions. ...................................................................................................... - 6 -
  6
           B.         Defendants Must Produce Relevant Materials. ................................... - 7 -
  7             i.      Materials Referenced on Buz Rico’s Website. ..................................... - 9 -
  8             ii.     Documents Exchanged with David Currie. ....................................... - 15 -
  9             iii. Communications with the Copyright Office. ..................................... - 16 -
 10             iv. Documents from the Kirby litigation. ............................................... - 17 -
 11   IV. THE RICOS’ CONTENTIONS .............................................................. - 19 -
 12        A.         Background ............................................................................................ - 19 -
 13        B.         Marvel’s “Instance and Expense” Defense ......................................... - 19 -
 14        C. Marvel’s Motion Must be Denied because Marvel Failed to Meet and
           Confer on the Issues Presented..................................................................... - 20 -
 15
           D.         Marvel’s Motion was Brought in Bad Faith ....................................... - 23 -
 16
           E. Marvel’s Motion Should be Denied on the Merits as Based Solely on
 17        Loose Speculation .......................................................................................... - 24 -
 18             1.      The Ricos have Diligently Searched for Relevant Documents. ........ - 25 -
 19             2. The Ricos do not have Possession, Custody, or Control of David
                Currie’s Documents. ................................................................................... - 27 -
 20             3. The Ricos do not have Possession, Custody, or Control of the Kirbys’
 21             Documents; the Kirbys are Producing Them. ........................................... - 30 -

 22             4. Marvel did not Meet and Confer Regarding Communications with the
                Copyright Office, which the Ricos Already Produced. ............................. - 31 -
 23             5. There are No Documents Associated with Buz Rico’s Website or
                Facebook Page. ........................................................................................... - 32 -
 24
           F.         Marvel Should be Sanctioned for Its Frivolous Motion .................... - 34 -
 25
      V.         MCI’S CONCLUSION ............................................................................ - 36 -
 26
      VI. THE RICOS’ CONCLUSION ................................................................ - 36 -
 27
 28
Case 2:21-cv-07624-DMG-KES     Document 41-1     Filed 08/30/22   Page 4 of 42 Page
                                    ID #:774


  1   I.   MCI’S INTRODUCTION
  2         Plaintiff Marvel Characters, Inc. (“MCI”) seeks an order compelling
  3   Defendants Michele Hart-Rico and Buz Donato F. Rico III (“Defendants”) to (i)
  4   complete their document production by a date certain and (ii) confirm an appropriate
  5   search for responsive documents to MCI’s discovery requests has occurred and such
  6   documents have been (or will be) produced by that stated date certain.
  7         Last year, Defendants—the widow and son of comic book artist Donato
  8   Francisco Rico II (“Don Rico”)—decided to try to upend the status quo of more than
  9   half a century and served a purported termination notice on MCI contending that they
 10   could “recapture” the rights to two comic books to which Don Rico had contributed
 11   in the early 1960s. Defendants asserted this claim even though previous attempts by
 12   the heirs of other artists (represented by same counsel) had been rejected because
 13   works made for hire are not eligible for termination under the Copyright Act. See,
 14   e.g., Marvel Worldwide, Inc. v. Kirby, 777 F. Supp. 2d 720, 738 (S.D.N.Y. 2011),
 15   aff’d in relevant part, 726 F.3d 119 (2d Cir. 2013) (“Kirby”); In re Marvel
 16   Entertainment Grp., 254 B.R. 817 (D. Del. 2000) (“Wolfman”). The facts here are
 17   essentially the same to those in Kirby and Wolfman—and would involve the same
 18   witnesses too, but for Defendants’ decade-long delay in asserting their ostensible
 19   termination right.1
 20         Nearly four decades after Don Rico’s death, Defendants now claim that his
 21   contributions were not made for hire. But Defendants have adduced no evidence
 22   suggesting Don Rico took issue with Marvel regarding the nature of his work on its
 23
 24   1
        Defendants claim a termination right in works whose copyright was first secured
 25   in 1964. Per the copyright termination statute, a purported notice of termination
      thus could have been served as early as 2010. See 17 U.S.C. § 304 (termination
 26   may be effected 56 years from date copyright secured; termination notice may be
 27   served up to 10 years before effective date). Several witnesses passed away in the
      intervening years—though fortunately, key testimony (including that of Stan Lee)
 28   has been preserved and will be introduced in this case.
                                             -1-
Case 2:21-cv-07624-DMG-KES      Document 41-1      Filed 08/30/22    Page 5 of 42 Page
                                     ID #:775


  1   comics during Don Rico’s nearly forty-year Marvel career—spanning his early days
  2   as an artist, writer, and staff editor under “boss” Stan Lee at then-nascent Marvel
  3   during the “Golden Age of Comics,” to his later work within the expanded Marvel
  4   Super Hero comics universe. Ex. 11. Nonetheless, after his passing, his widow and
  5   son now contend otherwise.
  6           Recognizing the challenges they face on the merits, Defendants have focused
  7   their efforts on attempting to cast aspersions on MCI’s evidence-gathering, which
  8   has involved an extensive review of materials dating back decades. But Defendants
  9   have not satisfied their own obligations.        In response to MCI’s Requests for
 10   Production (“RFPs”), served back in February, Defendants agreed to produce a wide
 11   variety of documents.      In the intervening six months, however, Defendants
 12   collectively    have   produced    fewer    than   thirty     documents—and   mostly
 13   inconsequential ones, at that. And Defendants have apparently failed to explore all
 14   repositories reasonably likely to contain responsive information, including those of
 15   third parties within their possession, custody, or control. In addition, despite many
 16   requests from MCI over many months, Defendants refuse to commit to a date to
 17   complete their productions.       After reaching an impasse in meet-and-confer
 18   discussions spanning half a year2—including Defendants’ rejection of MCI’s
 19   reasonable offer that all parties be held to the same production deadline3—MCI now
 20   brings this dispute before the Court for resolution.
 21
 22
 23
 24
 25
 26
 27
      2
          See Exs. 1-10.
 28   3
          See Ex. 4.
                                                 -2-
Case 2:21-cv-07624-DMG-KES      Document 41-1      Filed 08/30/22   Page 6 of 42 Page
                                     ID #:776


  1   II.   THE RICOS’ INTRODUCTION
  2         Marvel’s unnecessary Motion is a counterweight to save face before this
  3   Court, but has the opposite effect. Defendants Michele Hart-Rico and Buz Donato
  4   F. Rico III (the “Ricos”), the surviving wife and son, respectively, of Don Rico,
  5   previous moved to compel Marvel’s production of documents in critical categories
  6   responsive to their Requests for Production (“RFPs”) (Dkts. 37-38). Marvel, keen
  7   to deflect and misdirect this Court’s attention away from its own discovery
  8   deficiencies, immediately submitted this gratuitous, and frankly, disingenuous,
  9   Motion in response. Marvel was particularly motivated to engage in such
 10   deflection, after Judge Kaplan, in three Southern District of New York cases,
 11   granted the defendants’ motion to compel in its entirety, under similar
 12   circumstances, and ordered Marvel to produce documents in categories parallel to
 13   those outlined in the Ricos’ motion to compel here. Declaration of Jaymie
 14   Parkkinen (“Parkkinen Decl.”) Ex. 25. Thus, Marvel’s Motion is little more than a
 15   series of manufactured “disputes.” Indeed, in an effort to fabricate something to
 16   support its Motion, Marvel raised for the first time things like Buz Rico’s (publicly
 17   available) Facebook page, never once mentioned in the meet-and-confer process.
 18         Notwithstanding all of the above, the Ricos reached out to Marvel and
 19   essentially offered to provide them with all of the relief their Motion requested in
 20   an effort to avoid this unnecessary motion practice. Parkkinen Decl. Ex. 26 at 1.
 21   Marvel nonetheless responded with obfuscation, intent on bringing its mooted
 22   Motion, further underscoring its improper purpose. Id. at 5-6. Marvel’s Motion is
 23   based on no more than unsupported speculation and false innuendo—a frivolous
 24   distraction that this Court should swiftly deny.
 25         As this Court may know, Don Rico was a prolific and multi-talented artist./.
 26   See e.g., Parkkinen Decl. Ex. 27. He created and performed in numerous different
 27   media including as a singer, wood engraver, novelist, screenwriter, album cover
 28   designer, painter, and comic book author. Indeed, Don Rico was the renowned co-
                                               -3-
Case 2:21-cv-07624-DMG-KES       Document 41-1     Filed 08/30/22    Page 7 of 42 Page
                                      ID #:777


  1   creator of the heroine “Black Widow,” which he created on a freelance basis in
  2   1964, and which was featured in two original comic book stories entitled “The
  3   Crimson Dynamo Strikes Again!” and “The Black Widow Strikes Again!” (the
  4   “Works”), that Marvel published. Parkkinen Decl. Ex. 28 (Dkt. 22)
  5   (“Counterclaim”) ¶ 1. The Ricos, as the author’s statutory heirs, properly exercised
  6   his “termination rights” under the Copyright Act, 17 U.S.C. §304(c), to recover his
  7   copyright interest in the Works by statutorily terminating his copyright transfers to
  8   Marvel in 1963 when the Works were purchased and 1964 when they were first
  9   published (the “Creation Period”). Counterclaim ¶ 2, Ex. A. The termination right is
 10   arguably the most important authorial right in the Act, after copyright itself, as it
 11   enables authors and surviving family to finally participate to some degree in the
 12   value of an author’s creations once it is no longer conjectural. Mills Music, Inc. v.
 13   Snyder, 469 U.S. 153, 173 (1985), citing H. R. Rep. No. 94-1476, at 124 (1976).
 14   The sole exemption from termination is “work made for hire.” 17 U.S.C. §304(c).
 15   Thus Marvel, like most terminated grantees, asserted in hindsight that all the Works
 16   were “made for hire.” Parkkinen Decl. Ex. 29 (Dkt. 1) (“Complaint”) ¶¶ 23-24.
 17         Since approximately, March 9, 2021, when the Ricos contemplated
 18   exercising their termination rights regarding the Works, they began to search for
 19   and collect documents which might be relevant to this. Lens Decl. Ex. 14 B. Rico
 20   Resp. at 9, M. Hart-Rico Resp. at 9. After receiving Marvel’s RFPs, the Ricos
 21   continued to diligently search for responsive documents and worked closely with
 22   their counsel to collect, review, and make a fulsome production of responsive
 23   documents. Id. Ex. 14 B. Rico Resp. at 14-15, M. Hart-Rico Resp. at 14-15. Don
 24   Rico died nearly forty years ago. The Ricos, who are his individual heirs, without
 25   document retention policies or consolidated ESI platforms, were nonetheless able to
 26   produce dozens of documents dating from the 1960s and 1970s; a sizable
 27   production given the age of the documents and their status. The Ricos, who
 28   continued to search for documents, informed Marvel that their production would be
                                                -4-
Case 2:21-cv-07624-DMG-KES       Document 41-1     Filed 08/30/22   Page 8 of 42 Page
                                      ID #:778


  1   substantially completed by August 29, 2022. See Id. Ex. 4 at 4 (“Defendants expect
  2   that their productions will be substantially completed by August 29.”). The Ricos
  3   also forthrightly responded to Marvel’s interrogatories, detailing their diligent
  4   search efforts and the loss or destruction of many of Don Rico’s documents in New
  5   York decades ago. Id. Ex. 14 B. Rico Resp. at 13, M. Hart-Rico Resp. at 13.
  6   Despite all of this, Marvel raced to file this gratuitous Motion so that, when this
  7   Court hears the Ricos’ motion to compel Marvel’s production, Marvel will be able
  8   to deflect with the hope that this Court will throw up its hands, do nothing or grant
  9   both motions. To this end, Marvel’s Motion, which is long on vague finger-pointing
 10   but short on details, employs several tactics to mislead the Court.
 11         For instance, Marvel conflates the Ricos with the defendants in the other four
 12   termination cases4 by loosely shifting between “Defendants” in this case and
 13   “defendants” in all five cases. By so doing, Marvel attempts to whitewash the
 14   important distinctions between each defendant, each creator, work and case. Marvel
 15   seeks to attribute the alleged obligations of defendants in different cases to the
 16   Ricos in an effort to manufacture a “dispute” to get in front of this Court. To avoid
 17   Marvel’s shell game, the Ricos refer to themselves by name. Further still, as
 18   previously stated, the Ricos informed Marvel, prior to the submission of its Motion,
 19   that their production would be substantially completed by August 29, 2022. Lens
 20   Decl. Ex. 4 at 4. Marvel’s contrary representation to this Court is false. Marvel’s
 21   Motion is a whitewash of unsupported accusations. It is incorrect, improper as to
 22   items never raised in the parties’ meet-and-confer discussions, and in any event,
 23   moot given the Ricos’ resolution on August 18 of all purported issues raised in the
 24   Motion. As such, Marvel’s makeweight Motion must be denied.
 25
 26   4
       Marvel Characters, Inc. v. Lieber, No. 1:21-cv-07955-LAK (S.D.N.Y.); Marvel
 27   Characters, Inc. v. Ditko, No. 1:21-cv-07957-LAK (S.D.N.Y.); Marvel Characters,
      Inc. v. Dettwiler, No. 1:21-cv-07959-LAK (S.D.N.Y.); Marvel Characters, Inc. v.
 28   Solo, No. 1:21-cv-5316-DG-TAM (E.D.N.Y.).
                                               -5-
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 9 of 42 Page
                                     ID #:779


  1   III.   MCI’S CONTENTIONS
  2          A.    Defendants Must Commit to a Date Certain to Complete Their
  3                Productions.

  4          In response to MCI’s Requests for Production (“RFPs”), served in February,
  5   Defendants agreed to produce a wide variety of documents. However, in the
  6   intervening six months, Defendants have produced fewer than thirty, largely
  7   inconsequential documents. Outside of two articles and a handful of personal
  8   correspondence between Don Rico and Marvel editor Stan Lee, the balance of
  9   Defendants’ production consists of Buz Rico’s birth certificate, Michele Hart-
 10   Rico’s marriage certificate, and an assortment of agreements and contract
 11   negotiation documents relating to Don Rico’s work on erotica thriller novels for
 12   other publishers. Notably, Defendants have not produced a single document that
 13   concerns the two Works that are the subject of their purported termination notice.
 14          What is more, despite many requests from MCI, Defendants refuse to
 15   commit to a date to complete their productions. See, e.g., Ex. 4. But the Federal
 16   Rules require that Defendants agree to complete their productions by a date certain.
 17   See, e.g., Fed. R. Civ. Pro. 34(b)(2)(B) (production must be made when responses
 18   are served or “another reasonable time specified in the response”); see also Fed. R.
 19   Civ. P. 34(b)(2)(B) 2015 Advisory Committee’s Note (responses “should specify
 20   the beginning and end dates of the production”); Evox Prods. v. Kayak Software
 21   Corp., 2016 WL 10586303, at *4 (C.D. Cal. June 14, 2016) (holding that responses
 22   that do “not specify the date for completion of [] production” violate Rule 34 and
 23   granting motion to compel); Fischer v. Forrest, 2017 WL 773694, at *3 (S.D.N.Y.
 24   Feb. 28, 2017) (same). Indeed, Defendants’ counsel has expressly recognized this
 25   requirement. Ex. 12 (Defendants’ counsel noting that parties “must state a definite
 26   end date on which production will be complete”). Yet, in their latest attempt to
 27   dodge MCI’s demand that Defendants comply with Rule 34, Defendants tried to
 28   insist that MCI agree to a number of punitive conditions in exchange for
                                              -6-
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 10 of 42 Page
                                     ID #:780


  1   Defendants agreeing to a “substantially complete[]” production deadline. See Ex.
  2   4. MCI suggests the Court reject Defendants’ gamesmanship and order them to
  3   comply with Rule 34. This is especially important considering (1) the need to
  4   complete depositions ahead of the November 18 fact discovery deadline; (2)
  5   Defendants’ recalcitrance in producing documents; and (3) their improper attempt
  6   to use their refusal to comply with Rule 34 as a negotiating chip during the meet-
  7   and-confer process.
  8         B.     Defendants Must Produce Relevant Materials.
  9
            Defendants do not dispute that they have not produced all responsive, non-
 10
      privileged documents. Accordingly, there is no doubt that MCI meets the standard
 11
      justifying an order compelling completion of Defendants’ documents. See
 12
      Bagdasaryan v. City of Los Angeles, 2017 WL 10560536, at *7 (C.D. Cal. Nov. 1,
 13
      2017) (Scott, J.) (“[T]he moving party must have a colorable basis for its belief that
 14
      relevant, responsive documents exist and are being improperly withheld.”); see also
 15
      Sidman v. Concord Arena Parking, LLC, 2021 WL 1940255, at *2 (E.D.N.Y. May
 16
      11, 2021). Furthermore, one of the substantial areas of dispute is that Defendants
 17
      take an overly narrow view of their obligation to search for and collect responsive
 18
      documents from repositories within their control. While MCI acknowledges that
 19
      individual parties (as opposed to organizations) often have fewer retained
 20
      documents, that is no basis to avoid searching sources that are within reach and
 21
      likely to contain relevant material.
 22
            Defendants’ approach to their discovery obligations has been haphazard at
 23
      best. Their strategy in this litigation has become all too clear: aggressively lob
 24
      accusations at MCI, despite its over-and-above discovery efforts, all while
 25
      searching for and collecting as little as they think they can get away with.
 26
      Defendants’ assertion that they simply do not have responsive documents is
 27
      particularly dubious given that Buz Rico has taken it upon himself to be a guardian
 28
                                                -7-
Case 2:21-cv-07624-DMG-KES      Document 41-1      Filed 08/30/22   Page 11 of 42 Page
                                     ID #:781


  1   of his father’s legacy and has maintained a website and a separate Facebook page
  2   devoted to Don Rico’s life’s work. Defendants’ meager productions result not from
  3   a lack of resources or control, but rather from a lack of trying.
  4         A case in point is Defendants’ approach to contacting and searching for
  5   documents from David Currie, the author of “ditko shrugged,” a 2021 book
  6   exploring, inter alia, working for Marvel during the 1960s.5 Based on extensive
  7   personal correspondence with Steve Ditko—a contemporary of Don Rico—Currie
  8   details Ditko’s career and the “Rise of Marvel Comics,” in part through “the stories
  9   of Steve Ditko’s contemporaries . . . working in the comic industry.” See Ex. 13.
 10   Defendants themselves now admit that Currie is reasonably likely to have
 11   responsive information concerning Defendants’ purported termination attempt. See
 12   Ex. 14. For months, however, Defendants’ counsel evaded questions about their
 13   outreach to Currie, with Defendants’ counsel even once suggesting that his
 14   documents were somehow within MCI’s possession, custody, or control. See Exs.
 15   15-17. This, of course, ignores that the defendants (across the pending cases) were
 16   the ones corresponding with Currie and providing him with highly relevant
 17   information to their posthumous revisionist claims that work for Marvel was not
 18   done on a work-made-for-hire basis. Indeed, after months of delay and distraction,
 19   when MCI ultimately took matters into its own hands and reached out to Currie,
 20   Defendants’ counsel swiftly informed MCI that they now represent Currie and that
 21   MCI should cease communicating with him. Ex. 18. If Defendants had shown the
 22   same tenacity in attempting to retrieve documents from Currie (and other similarly
 23   5
        Steve Ditko’s family—represented by counsel of record in this case—similarly
 24   served purported termination notices on his behalf. That case, along with two other
 25   related cases, have been consolidated in the Southern District of New York, and a
      fifth case is pending in the Eastern District of New York. See Marvel Characters,
 26   Inc. v. Lieber, No. 1:21-cv-07955-LAK (S.D.N.Y.); Marvel Characters, Inc. v.
 27   Ditko, No. 1:21-cv-07957-LAK (S.D.N.Y.); Marvel Characters, Inc. v. Dettwiler,
      No. 1:21-cv-07959-LAK (S.D.N.Y.); Marvel Characters, Inc. v. Solo, No. 1:21-cv-
 28   5316-DG-TAM (E.D.N.Y.).
                                                -8-
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 12 of 42 Page
                                     ID #:782


  1   situated third parties) as they did in giving MCI the run-around, it is likely that MCI
  2   would be in receipt of more than the meager thirty or so documents that MCI has
  3   received from Defendants to date.
  4         MCI does not endeavor to catalogue every single document within
  5   Defendants’ control that they have failed to collect and/or produce. That would be
  6   a fool’s errand. But MCI has numerous, concrete examples of glaring deficits in
  7   Defendants’ productions—more than enough to cast doubt on the integrity of
  8   Defendants’ discovery operation writ large. Unlike Defendants, MCI does not need
  9   to resort to speculation or hunches to call into question Defendants’ productions.
 10   MCI’s motion should be granted accordingly. Defendants’ halfhearted approach to
 11   responsive discovery—all while demanding much more than what is required of
 12   MCI—cannot be allowed to continue.
 13         While the examples below illustrate a few specific instances of Defendants’
 14   failure to adequately search for and produce responsive information, Defendants
 15   should be ordered to produce all nonprivileged, responsive documents—including
 16   those maintained by third parties within Defendants’ possession, custody, or
 17   control. See Desire, LLC v. Rainbow USA, Inc., 2016 WL 6106740, at *3 (C.D.
 18   Cal. June 29, 2016) (granting motion to compel based on an inadequate search,
 19   ordering documents to be produced by a specified date, and requiring a declaration
 20   stating that all had been produced).6
 21                i.    Materials Referenced on Buz Rico’s Website.
 22         Buz Rico created an “[o]fficial website and information repository” for
 23   “archiv[ing]” information pertaining to his father, Don Rico. See Ex. 19. On this
 24   website, Buz Rico quotes and/or references a number of materials responsive to
 25
 26   6
       Unlike MCI’s interrogatory response regarding its collection efforts, see Ex. 23,
 27   Defendants do not affirm in their responses that they have produced all
      nonprivileged, responsive documents. This underscores why MCI’s motion to
 28   compel, unlike Defendants’, should be granted.
                                                -9-
Case 2:21-cv-07624-DMG-KES     Document 41-1      Filed 08/30/22   Page 13 of 42 Page
                                    ID #:783


  1   MCI’s RFPs. However, even though MCI repeatedly raised this website during
  2   meet-and-confer discussions, see, e.g., Exs. 6-10, Defendants’ amended
  3   interrogatory responses make no mention of Buz Rico’s website nor any search for
  4   the documents cited therein, demonstrating clear deficiencies in Defendants’ search
  5   efforts. See Ex. 14.
  6         For example, Buz Rico quotes a reference letter by Stan Lee in which Lee
  7   describes his working relationship with Rico, explaining that “I have known Don
  8   under the most critical circumstances, as his boss.” Ex. 11 (emphasis added).
  9   MCI’s own search for this reference letter has proven fruitless, suggesting—as one
 10   would reasonably expect—that it remains in the possession, custody, or control of
 11   Don Rico’s family. This highly relevant piece of evidence—confirming that Don
 12   Rico worked at Marvel’s instance—must be produced.
 13         Buz Rico also appears to have sought out his father’s artwork, noting on his
 14   webpage that “[s]ubmissions are gladly accepted, especially scans of artwork.” See
 15   Ex. 19. Yet Defendants have not produced even a single piece of artwork, casting
 16   further doubt on the adequacy of their searches. Similarly, Buz Rico references
 17   correspondence between Don Rico and Mark Evanier—a purported comic book
 18   historian—regarding Don’s use of pen names when working for Marvel. See id.
 19   This correspondence, again, was not produced.
 20         Buz Rico also references a 1977 Don Rico interview with Ronald Levitt
 21   Lanyi entitled “The Once and Future Don Rico,” an interview which—as MCI
 22   retrieved though its own efforts—describes Rico’s involvement in the “creator’s
 23   rights movement” after his “rights to strips” were not met. See Ex. 20. Even
 24   though Buz Rico addresses this interview of his father on his website, Buz Rico did
 25   not produce it in response to MCI’s document requests which asked him to furnish
 26   all interviews by his father. See Ex. 21. Even if MCI is able to obtain copies of this
 27   interview on its own, this does not relieve Defendants of their obligation to produce
 28   copies within their possession, custody, or control.
                                              - 10 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 14 of 42 Page
                                     ID #:784


  1         Given Buz Rico’s own acknowledgment that document retention is essential
  2   so as to avoid “los[ing] priceless information . . . since many sites disappear over
  3   time,” Buz Rico clearly well understands the importance of retaining sources that
  4   bear on the nature of his father’s work for Marvel. See Ex. 19. Putting aside any
  5   potential spoliation issues, either Buz Rico no longer adheres to his own professed
  6   views on document retention or Defendants have failed to adequately search such
  7   sources. To the extent documents pertaining to Don Rico’s Marvel career,
  8   including those relating to the works at issue, were retained, Defendants must
  9   search for and produce any responsive documents.
 10         In a similar vein, Buz Rico maintains an active Facebook account for Don
 11   Rico—with the most recent posting taking place just weeks ago—yet Defendants
 12   did not produce the source material therefrom. See Ex. 22 (“This page is a
 13   memorial to my father, Don Rico.”). Buz Rico’s contention that he lacks
 14   meaningful records of his father’s career is belied by his active role in and
 15   maintenance of these commemorative sites.
 16         The RFPs and Amended Responses regarding this category of requested
 17   documents are as follows:
 18
 19         REQUEST FOR PRODUCTION NO. 2:
            All Communications between You and/or Don Rico, on the one hand,
 20         and Marvel, on the other, Concerning the Works or the nature of Don
 21         Rico’s contributions to the Works.

 22         AM. RESPONSE TO REQUEST FOR PRODUCTION NO. 2:
 23         Defendant objects to this Request because it is overbroad, unduly
            burdensome, and does not comply with Rule 34’s requirement that the
 24         requested documents must be described with reasonable particularity,
 25         insofar as it seeks “all” documents without regard to whether such
            documents are relevant to this action. Such a request is not
 26         proportional to the needs of this case as the burden and/or expense this
 27         Request entails far outweigh(s) any potential benefit. Defendant
            further objects to this Request to the extent that it seeks
 28         communications or items protected by the attorney-client privilege,
                                              - 11 -
Case 2:21-cv-07624-DMG-KES     Document 41-1     Filed 08/30/22   Page 15 of 42 Page
                                    ID #:785


  1         the attorney work product doctrine, and any other privilege or
  2         immunity available under law or arising from contractual obligation.
            In addition, Defendant is interpreting “contributions” to mean
  3         “creative/artistic contributions” and will produce documents
  4         consistent with that understanding. Subject to, and without waiving,
            the General Objections and these specific objections, Defendant will
  5         conduct a reasonably diligent search of documents within Defendant’s
  6         possession, custody, or control and will produce all non-privileged,
            responsive documents, to the extent any such documents exist and are
  7         not otherwise subject to a protective order or confidentiality
  8         requirement.
  9         REQUEST FOR PRODUCTION NO. 6:
 10         All Documents reflecting or evidencing that Marvel took the position
            that the Works and/or Don Rico’s contributions to the Works were
 11         made on a work-made-for-hire basis.
 12
            AM. RESPONSE TO REQUEST FOR PRODUCTION NO. 6:
 13         Defendant objects to this Request because it is overbroad, unduly
 14         burdensome, and does not comply with Rule 34’s requirement that the
            requested documents must be described with reasonable particularity,
 15         insofar as it seeks “all” documents without regard to whether such
 16         documents are relevant to this action. Such a request is not
            proportional to the needs of this case as the burden and/or expense this
 17         Request entails far outweigh(s) any potential benefit. Defendant
 18         further objects to this Request to the extent that it seeks
            communications or items protected by the attorney-client privilege,
 19         the attorney work product doctrine, and any other privilege or
 20         immunity available under law or arising from contractual obligation.
            Subject to, and without waiving, the General Objections and these
 21         specific objections, Defendant will conduct a reasonably diligent
 22         search of documents within Defendant’s possession, custody, or
            control and will produce all non-privileged, responsive documents, to
 23         the extent any such documents exist and are not otherwise subject to a
 24         protective order or confidentiality requirement
 25
            REQUEST FOR PRODUCTION NO. 7:
 26         Documents sufficient to show when You and/or Don Rico first
            understood, appreciated, learned, read, or were told or informed that
 27
            Marvel contended that Don Rico’s contributions to the Works were
 28
                                             - 12 -
Case 2:21-cv-07624-DMG-KES     Document 41-1     Filed 08/30/22   Page 16 of 42 Page
                                    ID #:786


  1         made on a work-made-for-hire basis and/or that Don Rico was not an
  2         Author of the Works.

  3         AM. RESPONSE TO REQUEST FOR PRODUCTION NO. 7:
  4         Defendant objects to this Request to the extent that it seeks
            communications or items protected by the attorney-client privilege,
  5         the attorney work product doctrine, and any other privilege or
  6         immunity available under law or arising from contractual obligation.
            Defendant objects to this Request on the grounds that “understood”
  7         and “appreciated” are vague and ambiguous however, Defendant will
  8         interpret these terms in good faith given their normal meanings.
            Subject to, and without waiving, the General Objections and these
  9         specific objections, Defendant will conduct a reasonably diligent
 10         search of documents within Defendant’s possession, custody, or
            control and will produce all non-privileged, responsive documents, to
 11         the extent any such documents exist and are not otherwise subject to a
 12         protective order or confidentiality requirement.
 13         REQUEST FOR PRODUCTION NO. 8:
 14         All Documents Concerning the contributions of any Persons,
            Including Don Rico and Lee, to any of the Works, Including (i) the
 15         identities of all such contributors, (ii) the nature and scope of their
 16         respective contributions, and (iii) the circumstances under which they
            made such contributions, Including whether they made such
 17         contributions as an employee, independent contractor, or freelancer.
 18
            AM. RESPONSE TO REQUEST FOR PRODUCTION NO. 8:
 19         Defendant objects to this Request because it is overbroad, unduly
 20         burdensome, and does not comply with Rule 34’s requirement that the
            requested documents must be described with reasonable particularity,
 21         insofar as it seeks “all” documents without regard to whether such
 22         documents are relevant to this action. Such a request is not
            proportional to the needs of this case as the burden and/or expense this
 23         Request entails far outweigh(s) any potential benefit. Defendant
 24         further objects to this Request to the extent that it seeks
            communications or items protected by the attorney-client privilege,
 25
            the attorney work product doctrine, and any other privilege or
 26         immunity available under law or arising from contractual obligation.
            In addition, Defendant is interpreting “contributions” and
 27
            “contributors” to mean “creative/artistic contributions and those who
 28         provided such contributions” and will produce documents consistent
                                             - 13 -
Case 2:21-cv-07624-DMG-KES     Document 41-1     Filed 08/30/22   Page 17 of 42 Page
                                    ID #:787


  1         with that understanding. Subject to, and without waiving, the General
  2         Objections and these specific objections, Defendant will conduct a
            reasonably diligent search of documents within Defendant’s
  3         possession, custody, or control and will produce all non-privileged,
  4         responsive documents, to the extent any such documents exist and are
            not otherwise subject to a protective order or confidentiality
  5         requirement.
  6
            REQUEST FOR PRODUCTION NO. 26:
  7         All statements (published or unpublished) by You, Don Rico, and/or
  8         Your or Don Rico’s agents, representatives, family members, or
            relatives Concerning (i) the Works, (ii) contributions to the Works by
  9         Don Rico or others, (iii) ownership interests in or to the Works, (iv)
 10         authorship of or to the Works, or (v) Don Rico’s business relationship
            with Marvel.
 11
 12         AM. RESPONSE TO REQUEST FOR PRODUCTION NO. 26:
            Defendant objects to this Request because it is overbroad, unduly
 13         burdensome, and does not comply with Rule 34’s requirement that the
 14         requested documents must be described with reasonable particularity,
            insofar as it seeks “all” documents and insofar as it seeks “all
 15         statements by family members or relatives” without regard to whether
 16         such documents are relevant to this action. Such a request is not
            proportional to the needs of this case as the burden and/or expense this
 17         Request entails far outweigh(s) any potential benefit. Defendant
 18         further objects to this Request to the extent that it seeks
            communications or items protected by the attorney-client privilege,
 19         the attorney work product doctrine, and any other privilege or
 20         immunity available under law or arising from contractual obligation.
            Defendant further objects to this Request on the grounds that it is
 21         vague, ambiguous, and confusing, for instance, as to the meaning of
 22         “authorship . . . to the Works.” Despite these terms being vague and
            ambiguous and the phrasing confusing, Defendant will interpret this
 23         Request in good faith giving words their normal meanings. Subject to,
 24         and without waiving, the General Objections and these specific
            objections, Defendant will conduct a reasonably diligent search of
 25
            documents within Defendant’s possession, custody, or control and
 26         will produce all non-privileged, responsive documents, to the extent
            any such documents exist and are not otherwise subject to a protective
 27
            order or confidentiality requirement.
 28
                                             - 14 -
Case 2:21-cv-07624-DMG-KES     Document 41-1     Filed 08/30/22   Page 18 of 42 Page
                                    ID #:788


  1         REQUEST FOR PRODUCTION NO. 27:
  2         All interviews Concerning any of the Works or Don Rico.

  3         RESPONSE TO REQUEST FOR PRODUCTION NO. 27:
  4         Defendant objects to this Request because it is overbroad, unduly
            burdensome, and does not comply with Rule 34’s requirement that the
  5         requested documents must be described with reasonable particularity,
  6         insofar as it seeks “all” documents without regard to whether such
            documents are relevant to this action. Such a request is not
  7         proportional to the needs of this case as the burden and/or expense this
  8         Request entails far outweigh(s) any potential benefit. Subject to, and
            without waiving, the General Objections and these specific objections,
  9         Defendant will conduct a reasonably diligent search of documents
 10         within Defendant’s possession, custody, or control and will produce
            all non-privileged, responsive documents, to the extent any such
 11         documents exist and are not otherwise subject to a protective order or
 12         confidentiality requirement.
 13                ii.   Documents Exchanged with David Currie.

 14         David Currie is an individual reasonably likely to have nonprivileged,

 15   responsive information, such as correspondence or source materials evidencing the

 16   way in which contributors worked for Marvel during the relevant time period, i.e.,

 17   the “Marvel Method.” And Defendants unquestionably have access to Currie’s

 18   documents. In fact, the defendants across the five pending cases provided

 19   interviews and correspondence to Currie about the nature of their (or, where

 20   applicable, their relatives’) work for Marvel during the relevant time period. For

 21   this reason, MCI has repeatedly asked that Defendants confirm that they are

 22   obtaining—and producing—all responsive information that Currie has, including

 23   correspondence and interviews. But Defendants have not yet confirmed that they

 24   will be producing these documents. To the contrary, Defendants refused over many

 25   months to even reach out to Currie. But then, when MCI reached out to Currie

 26   directly, Defendants’ counsel of record immediately responded, advising that Currie

 27   was represented by counsel of record as well. Yet Defendants have still failed to

 28
                                             - 15 -
Case 2:21-cv-07624-DMG-KES     Document 41-1     Filed 08/30/22   Page 19 of 42 Page
                                    ID #:789


  1   confirm that they will be producing Currie’s documents. The RFPs and Amended
  2   Responses regarding this category of requested documents are as follows:
  3
            REQUEST FOR PRODUCTION NO. 35:
  4
            All Communications with any of the parties to the following actions:
  5         Marvel Characters, Inc. v. Ditko, No. 1:21-cv-07957-LAK
  6         (S.D.N.Y.); Marvel Characters, Inc. v. Dettwiler, No. 1:21-cv-07959-
            LAK (S.D.N.Y.); Marvel Characters, Inc. v. Lieber, No. 1:21-cv-
  7         07955-LAK (S.D.N.Y.); and Marvel Characters, Inc. v. Solo, No.
  8         1:21-cv-5316-DG-TAM (E.D.N.Y.).
  9
 10         RESPONSE TO REQUEST FOR PRODUCTION NO. 35:
            Defendant objects to this Request because it is overbroad, unduly
 11
            burdensome, and does not comply with Rule 34’s requirement that the
 12         requested documents must be described with reasonable particularity,
 13         insofar as it seeks “all” documents without regard to whether such
            documents are relevant to this action. Such a request is not
 14         proportional to the needs of this case as the burden and/or expense this
 15         Request entails far outweigh(s) any potential benefit. Defendant
            further objects to this Request to the extent that it seeks
 16         communications or items protected by the attorney-client privilege,
 17         the attorney work product doctrine, and any other privilege or
            immunity available under law or arising from contractual obligation.
 18         Subject to, and without waiving, the General Objections and these
 19         specific objections, Defendant will conduct a reasonably diligent
            search of documents within Defendant’s possession, custody, or
 20         control and will produce all non-privileged, responsive documents, to
 21         the extent any such documents exist and are not otherwise subject to a
            protective order or confidentiality requirement.
 22
 23               iii.   Communications with the Copyright Office.
 24         As noted above, given the 1964 copyrights in the works at issue, Defendants
 25   could have served a purported notice of termination as early as 2010. See 17 U.S.C.
 26   § 304 (termination may be effected 56 years from date copyright secured;
 27   termination notice may be served up to 10 years before effective date). MCI
 28   requested—and Defendants agreed to give—communications concerning the

                                             - 16 -
Case 2:21-cv-07624-DMG-KES     Document 41-1     Filed 08/30/22   Page 20 of 42 Page
                                    ID #:790


  1   purported termination notice at issue in this case, including any correspondence
  2   with the Copyright Office. But again, Defendants have failed to do so. That
  3   Defendants had their termination notices recorded means that such communications
  4   occurred. And yet such correspondence (and the purported termination notice
  5   itself) remain unproduced. The RFP and Response regarding this category of
  6   requested documents are as follows:
  7
            REQUEST FOR PRODUCTION NO. 28:
  8         All Communications Concerning the Purported Termination Notices,
  9         Including correspondence with the United States Copyright Office.

 10         RESPONSE TO REQUEST FOR PRODUCTION NO. 28:
 11         Defendant objects to this Request because it is overbroad, unduly
            burdensome, and does not comply with Rule 34’s requirement that the
 12         requested documents must be described with reasonable particularity,
 13         insofar as it seeks “all” documents without regard to whether such
            documents are relevant to this action. Such a request is not
 14         proportional to the needs of this case as the burden and/or expense this
 15         Request entails far outweigh(s) any potential benefit. Defendant
            further objects to this Request to the extent that it seeks
 16         communications or items protected by the attorney-client privilege,
 17         the attorney work product doctrine, and any other privilege or
            immunity available under law or arising from contractual obligation.
 18         Subject to, and without waiving, the General Objections and these
 19         specific objections, Defendant will conduct a reasonably diligent
            search of documents within Defendant’s possession, custody, or
 20         control and will produce all non-privileged, responsive documents, to
 21         the extent any such documents exist and are not otherwise subject to a
            protective order or confidentiality requirement.
 22
 23                iv.   Documents from the Kirby litigation.
 24         As explained above, the facts and issues in this case overlap with the facts and
 25   issues in Kirby. Accordingly, many of the documents from that litigation—such as
 26   those relating to Marvel’s operation in the 1960s—are relevant to the present dispute.
 27   By agreement of counsel, after MCI (at its own expense) had the protective order in
 28   Kirby lifted, MCI searched its records—and those of its prior outside counsel—to

                                              - 17 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 21 of 42 Page
                                     ID #:791


  1   identify and produce any Kirby documents that it possessed or could reasonably
  2   obtain. See Ex. 9. Defendants were to follow suit—including as to files within their
  3   counsel’s possession, who represented the Kirbys during the prior litigation (and still
  4   does). To date, however, Defendants have failed to produce even a single document
  5   from that litigation. Accordingly, Defendants should be compelled to produce all
  6   documents from the Kirby litigation that have not been produced by MCI or identified
  7   by MCI as within its possession.7 The RFP and Response regarding this category of
  8   requested documents are as follows:
  9         REQUEST FOR PRODUCTION NO. 30:
 10         The record evidence in and Communications Concerning Marvel
            Worldwide, Inc. v. Kirby, Case No. 1:10-cv-00141-CM-KNF
 11         (S.D.N.Y.) and Marvel Characters, Inc. v. Kirby, Case No. 11-3333
 12         (2d Cir.) (collectively, the “Kirby Litigation”), the principal decisions
            for which are accessible at 777 F. Supp. 2d 720, 2010 WL 1655253,
 13         and 726 F.3d 119.
 14
            RESPONSE TO REQUEST FOR PRODUCTION NO. 30:
 15         Defendant objects to this Request to the extent that it seeks
 16         communications or items protected by the attorney-client privilege,
            the attorney work product doctrine, and any other privilege or
 17
            immunity available under law or arising from contractual obligation.
 18         Subject to, and without waiving, the General Objections and these
            specific objections, Defendant will conduct a reasonably diligent
 19
            search of documents within Defendant’s possession, custody, or
 20         control and will produce all non-privileged, responsive documents, to
 21
 22   7
        To avoid a confusing and unwieldy reproduction of Kirby documents, the parties
 23   agreed to the following protocol for producing such documents: “(1) Marvel
      w[ould] produce the full extent of its Kirby documents, except as necessitated by
 24   attorney-client privilege, confidentiality or PII concerns, or any applicable privilege
 25   not listed here; (2) you [Defendants’ counsel] will identify the bates ranges of any
      Kirby documents that you, defendants, and/or the Kirbys have in their files
 26   that Marvel does not produce or have; and (3) defendants and the Kirbys will
 27   produce a single set of those Kirby documents they have that Marvel does not
      produce (and will not produce duplicates of the documents that Marvel produces).”
 28   Ex. 9 at 1.
                                              - 18 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 22 of 42 Page
                                     ID #:792


  1         the extent any such documents exist and are not otherwise subject to a
  2         protective order or confidentiality requirement.

  3   IV.   THE RICOS’ CONTENTIONS
  4         A.     Background
  5         Don Rico began his time with Marvel in the 1940s. Complaint ¶ 1. When the
  6   comic book industry collapsed in the 1950s, Don Rico packed up and moved from
  7   New York to Los Angeles to work in the movie business. See Counterclaim ¶ 26.
  8   Marvel, still in New York, was a miniscule operation which had only one alleged
  9   employee, Stan Lee (“Lee”). Counterclaim ¶¶ 27-28. Marvel, struggling to survive,
 10   was not the Marvel of today. Id. Instead, in the 1960s, Marvel was a composite of
 11   numerous shell companies. Id. ¶ 27. During this time, Marvel could not afford to
 12   hire any comic book creators as true employees. Id. ¶ 28. Instead, Marvel began to
 13   use what later became known as the “Marvel Method,” in which Marvel would
 14   purchase art on a per-page basis from creators—who were expected to plot and
 15   create original content from their homes using their own materials—and publish
 16   that purchased material in a composite comic book under their banner. Id. ¶¶ 28,
 17   32-36. If Marvel did not like the pages drawn or written by a creator, it did not buy
 18   them, as in any other purchase and sale. Id. ¶¶ 35-36. It is thus no surprise that Don
 19   Rico created the Works in question in his home studio, using his own
 20   instrumentalities and materials, at his own risk and expense. Id. ¶ 28.
 21         Against this backdrop, the Ricos, as Don Rico’s statutory heirs, properly
 22   exercised his termination rights under the Copyright Act to recover his U.S.
 23   copyright interest in the Works, which Marvel had purchased in 1963 and published
 24   in 1964. 17 U.S.C. §304(c); Counterclaim ¶¶ 1-2.
 25         B.     Marvel’s “Instance and Expense” Defense
 26         Marvel’s entire case rests on its alleged defense that the Works were “work
 27   made for hire”—the sole exemption to statutory termination. Complaint ¶ 1. Marvel
 28   has alleged that whether a Work was “made for hire” turns on whether it was
                                              - 19 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 23 of 42 Page
                                     ID #:793


  1   created at the “instance and expense” of Marvel’s predecessor that registered the
  2   original copyright to the Work. See e.g., Complaint ¶¶ 1, 13, 24-25.
  3         In all instances, including the copyright termination context, the work-for-
  4   hire analysis is fact-intensive, requiring the Court to review Don Rico’s particular
  5   working relationship and the true circumstances of each Work’s creation. See Siegel
  6   v. Warner Bros. Entm’t, Inc., 658 F. Supp. 2d 1036, 1058-60 (C.D. Cal. 2009);
  7   Urbont v. Sony Music Entm’t, 831 F.3d 80, 90 (2d Cir. 2016) (“turns on the parties’
  8   creative and financial arrangement as revealed by the record in each case.”)
  9   (internal quotation marks omitted); Marvel Characters, Inc. v. Simon, 310 F.3d
 10   280, 291 (2d Cir. 2002) (same). The analysis requires an evaluation of “the actual
 11   relationship between the parties, rather than the language of their agreements, in
 12   determining authorship of the work.” Simon, 310 F.3d at 291, citing Donaldson
 13   Pub. Co. v. Bregman, Vocco & Conn, Inc., 375 F.2d 639, 640-42 (2d Cir. 1967);
 14   see also 3 Nimmer on Copyright §11.02[A][2] (2022) (“[I]t is the relationship that
 15   in fact exists between the parties … that is determinative.”). “Work for hire” is thus
 16   an individualized analysis which requires a court to look at an individual artist and
 17   the conditions under which he created each work in question.
 18         C.     Marvel’s Motion Must be Denied because Marvel Failed to Meet
 19                and Confer on the Issues Presented
 20         Marvel failed to meet and confer with the Ricos regarding several topics
 21   raised for the first time in its Motion. Specifically, Marvel never mentioned that it
 22   took issue with the Ricos’ production of communications with the Copyright
 23   Office. Parkkinen Decl. Ex. 26 at 1. Indeed, it was a surprise to the Ricos that
 24   Marvel would take the position that the Ricos had not turned over the termination
 25   notices they filed with the Copyright Office given that the Ricos’ service of those
 26   termination notices on Marvel is what caused Marvel to file this suit. Complaint ¶¶
 27   17-20, Ex. 2. Further still, the Ricos attached as Exhibit A to their Answer &
 28   Counterclaim the termination notices again (Counterclaim Ex. A (Dkt. 22-1)) and
                                               - 20 -
Case 2:21-cv-07624-DMG-KES      Document 41-1      Filed 08/30/22    Page 24 of 42 Page
                                     ID #:794


  1   the filing and recordation of such termination notices is readily available to Marvel
  2   via the Copyright Office’s well-known electronic database8. Further, had Marvel
  3   simply raised this “non-issue” with the Ricos prior to filing its unnecessary Motion,
  4   the Ricos would have swiftly resolved it. In fact, after receiving notice of this
  5   alleged issue for the first time in Marvel’s portion of this Joint Stipulation, the
  6   Ricos produced those communications with the Copyright Office in their
  7   possession or control, consisting of their notices of termination (already in Marvel’s
  8   possession) and the Copyright Office’s TCS Form used for recording such
  9   termination notices—mooting this issue. See RICO-0127–RICO-01359.
 10         Marvel similarly raised Buz Rico’s largely irrelevant Facebook page as an
 11   issue for the first time in its Motion. Parkkinen Decl. Ex. 26 at 1. While the parties
 12   had discussed a separate website maintained by Buz Rico 11 years ago in 2011—
 13   and the Ricos made clear to Marvel, several times, that the information on the 2011
 14   website was cut-and-pasted from other websites and that there were no documents
 15   associated with that information—Marvel never suggested that there was any issue
 16   with Buz Rico’s personal Facebook page. Id. Ex. 26 at 1; Lens Decl. Ex. 15 at 3.
 17   Then, only after Marvel served its Motion, and notwithstanding that these sites
 18   were publicly available to Marvel and it had included PDFs of the website in its
 19   Motion, Marvel insisted that the Ricos provide downloaded copies of the 2011
 20   website and Facebook page. Parkkinen Decl. Ex. 26 at 6. The Ricos have done this
 21   as well, further mooting Marvel’s Motion. See RICO-0136–RICO-017510. Again,
 22   had Marvel simply brought this up, the Ricos would have swiftly addressed and
 23
 24   8
       See https://www.copyright.gov/public-records/.
 25
      9
       To avoid burdening the Court with extraneous documents, RICO-0127–RICO-
      0135 have not been included as exhibits. The Ricos, however, will make such
 26   documents available should the Court wish.
 27
      10
        While not attached as an exhibit, the Ricos can make these documents available
 28   to the Court as well.
                                               - 21 -
Case 2:21-cv-07624-DMG-KES       Document 41-1     Filed 08/30/22    Page 25 of 42 Page
                                      ID #:795


  1   resolved such easily resolvable items, notwithstanding their dubious relevance and
  2   the redundant nature of the exercise.
  3         Because Marvel failed to meet and confer in good faith about the dubious
  4   issues presented in its Motion, contrary to both the Federal and Local Rules, its
  5   Motion should be denied out of hand; and it is well within this Court’s discretion to
  6   do so. See Fed. R. Civ. P. 37(a)(1); C.D. Cal. L.R. 37-1 (“Before filing any motion
  7   relating to discovery . . . , counsel for the parties must confer in a good-faith effort
  8   to eliminate the necessity for hearing the motion or to eliminate as many of the
  9   disputes as possible.”); see also, e.g., Sanchez v. County of Sacramento, 2020 WL
 10   1984174, at *3 (E.D. Cal. Apr. 27, 2020) (“As the parties are aware, before
 11   bringing a motion to compel production, the movant must show that she conferred,
 12   or made a good faith effort to confer, with the party opposing disclosure before
 13   seeking court intervention. The burden of ensuring that proper meet and confer
 14   discussions take place is on the moving party.” (internal citation omitted)); Rogers
 15   v. Giurbino, 288 F.R.D. 469, 477 (S.D. Cal. 2012) (“A court can deny a motion to
 16   compel solely because of a party’s failure to meet and confer prior to filing the
 17   motion.”).
 18         Moreover, Marvel tellingly and improperly omitted nearly all of the
 19   correspondences the Ricos sent to Marvel concerning the parties’ meet-and-confer
 20   discussions. Marvel even omitted the Ricos’ letters cited in Marvel’s own letters.
 21   See e.g., Lens Decl. Ex. 3 at 1 (Marvel’s counsel: “We write to follow up on your
 22   August 8 letter.”). While excluding nearly all of the Ricos’ letters, Marvel attached
 23   its August 12, 2022 letter twice. See Id. Exs. 3, 17. Marvel further cited a letter sent
 24   by the defendants in the Eastern District of New York case, having nothing to do
 25   with Marvel’s Motion here. See Id. Ex. 12.11 To correct Marvel’s omissions, the
 26
 27
      11
        In stark contrast, the Ricos’ motion to compel included all correspondence, from
      both sides, concerning the issues raised in their motion, as is the norm. Dkt. 38-11 –
 28   38-26.
                                                - 22 -
Case 2:21-cv-07624-DMG-KES       Document 41-1     Filed 08/30/22    Page 26 of 42 Page
                                      ID #:796


  1   Ricos are attaching Exhibits 30-36, and 42—the eight conferral letters from the
  2   Ricos knowingly left out by Marvel.
  3         D.     Marvel’s Motion was Brought in Bad Faith
  4         Marvel’s gratuitous Motion was brought in bad faith to retaliate against the
  5   Ricos. Marvel’s bad faith is evident in several ways. First, Marvel brought its
  6   unnecessary Motion immediately after the Ricos brought their merited one. The
  7   Ricos’ motion to compel—which was brought on similar grounds as the one granted
  8   by Judge Kaplan in favor of the defendants in the three Southern District of New
  9   York cases (Parkkinen Decl. Ex. 25)—was brought only after Marvel made clear that
 10   it would not be producing the documents the Ricos had requested and asked for on
 11   numerous occasions in the parties’ meet-and-confer sessions. Marvel merely brought
 12   its Motion as a deflective counterweight to the Ricos’ motion.
 13         Second, Marvel did not meet and confer regarding many of the issues it raised
 14   in its Motion. Marvel, to fabricate a pretext to get in front of this Court and attack the
 15   Ricos’ credibility, strained to manufacture issues where none had even been raised
 16   by it. Marvel’s gymnastics are all done in an effort to turn the Ricos’ merited motion
 17   to compel into a mudslinging game of he-said-she-said with the goal of confusing the
 18   Court. Indeed, Marvel tellingly plans to make an ex parte application to continue the
 19   hearing date on the Ricos’ motion to compel so as to be heard on the same date as
 20   Marvel’s counterweight Motion. Parkkinen Decl. Ex. 41. This Court should neither
 21   indulge nor reward Marvel’s gamesmanship.
 22         Third, after Marvel served the Ricos with its portion of the Joint Stipulation,
 23   the Ricos immediately reached out to Marvel in good faith and offered to resolve
 24   each of the easily resolvable items (e.g., Facebook PDFs, basic Copyright Office
 25   communications) Marvel raised (many for the first time) in its Motion. Parkkinen
 26   Decl. Ex. 26 at 1. Marvel waited a full week to respond (a considerable amount of
 27   time given that the Ricos freely offered Marvel all of the relief it sought). Id. Ex 26
 28   at 5-6. Furthermore, Marvel only responded after being prompted several times by
                                                - 23 -
Case 2:21-cv-07624-DMG-KES     Document 41-1     Filed 08/30/22   Page 27 of 42 Page
                                    ID #:797


  1   the Ricos’ counsel to do so. Id. When Marvel finally responded, it did so with
  2   deflective hyperbole and a shoulder shrug, choosing instead to harass the Ricos and
  3   burden this Court, with decidedly minor matters that have been rendered moot. Id.
  4   Marvel is obviously playing games at the expense of the Ricos’ and this Court’s time
  5   and resources. This Court should simply deny Marvel’s makeweight Motion.
  6         E.     Marvel’s Motion Should be Denied on the Merits as Based Solely on
  7                Loose Speculation
  8         Marvel’s Motion should be denied on the merits because it is based on
  9   guesswork and unsubstantiated accusations concerning which documents the Ricos
 10   might have. Indeed, Marvel’s Motion contains demonstrable falsehoods designed to
 11   mislead this Court. But, as Marvel knows, its Motion has no basis and far more than
 12   runaway speculation is required to bring such a motion.
 13         In cases, where, as here, a responding party represents that it does not have
 14   further responsive information, “[t]he burden is on the party seeking to compel
 15   discovery to cast doubt on the responding party’s assertion that it does not have the
 16   requested information.” Gary Friedrich Enters. v. Marvel Enters., 2011 WL
 17   2623458, at *1 (S.D.N.Y. June 21, 2011); see also Bagdasaryan v. City of Los
 18   Angeles, 2017 WL 10560536, at *7 (C.D. Cal. Nov. 1, 2017) (Scott, J.) (“[T]he
 19   moving party must have a colorable basis for its belief that relevant, responsive
 20   documents exist and are being improperly withheld.”). “Mere suspicion” is not
 21   enough. Bagdasaryan, 2017 WL 10560536, at *7. In fact, “even an informed
 22   suspicion that additional non-privileged documents exist . . . cannot alone support
 23   an order compelling production of documents.” Kinetic Concepts, Inc. v. ConvaTec
 24   Inc., 268 F.R.D. 226, 252 (M.D.N.C. 2010). To bear its burden, the moving party
 25   must be able to concretely articulate—with support—why there is reason to believe
 26   that responsive documents exist. See Bal Seal Eng’g, Inc. v. Nelson Prod., Inc.,
 27   2018 WL 6258879, at *2 (C.D. Cal. July 9, 2018) (affirming Magistrate Judge
 28   Scott’s denial of request to compel because the requesting party “had not ‘provided
                                              - 24 -
Case 2:21-cv-07624-DMG-KES         Document 41-1     Filed 08/30/22   Page 28 of 42 Page
                                        ID #:798


  1   any concrete evidence that [producing party] withheld relevant [] documents’”).
  2   Marvel is well aware that such speculation is insufficient to support a motion to
  3   compel as it previously purported to lecture the Ricos on the subject. Dkt. 38 §
  4   IV(B)(2).
  5                   1.     The Ricos have Diligently Searched for Relevant Documents.
  6             As an initial matter, the Ricos agreed in good faith in their responses to every
  7   one of Marvel’s RFPs that notwithstanding their objections, they would produce all
  8   non-privileged documents in their possession, custody or control found through a
  9   reasonably diligent search. Lens Decl. Ex. 21. In telling contrast to Marvel’s
 10   responses to the Ricos’ RFPs there is no indicia of obfuscation or evasion in the
 11   Ricos’ responses. Compare Id. Ex. 21 with Parkkinen Decl. Ex. 38.
 12             The Ricos’ searches for physical and/or electronic copies of relevant and
 13   responsive documents have been extensive. Since the time the Ricos expected to
 14   exercise their statutory termination rights in the Works, they began searching for
 15   and collecting documents which might be relevant to such termination. Lens Decl.
 16   Ex. 14 at B. Rico Resp. at10, M. Hart-Rico Resp. at 10. When the Ricos received
 17   Marvel’s RFPs, their search efforts continued. Lens Decl. Ex. 14 at B. Rico Resp.
 18   at14-15, M. Hart-Rico Resp. at 14-15. The Ricos have informed Marvel, numerous
 19   times, that their production of documents would be substantially completed on or
 20   before August 29, 2022. Parkkinen Decl. Ex. 37 at 1-2, Ex. 26 at 1; Lens Decl. Ex.
 21   4 at 4.
 22             The Ricos’ searches have been diligent and thorough. Specifically, Michele
 23   Hart-Rico searched her apartment, including the filing cabinet in her apartment, her
 24   personal computer, and searched her small offsite storage room in North
 25   Hollywood, California in order to locate relevant, responsive documents, and both
 26   detailed and swore to her diligent efforts in her responses to Marvel’s
 27   interrogatories on the subject. Lens Decl. Ex. 14 M. Hart-Rico Resp. at 15. Buz
 28   Rico likewise searched his computer files, his entire house, including his files in his
                                                  - 25 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 29 of 42 Page
                                     ID #:799


  1   four-drawer filing cabinet, all shelves, closets, drawers, his home office, and his
  2   garage. Id. Ex. 14 B. Rico Resp. at 15. In addition, and notwithstanding the parties’
  3   agreement that such public sources need not be searched and that such third parties
  4   need not be contacted, the Ricos, with the participation of their counsel, contacted
  5   David Currie, Sean Howe, the Los Angeles Public Library, the New York Public
  6   Library, the Cambria County Library, and conducted numerous searches online,
  7   including sites such as Google, Facebook, Amazon, and eBay. Id. Ex. 14 B. Rico
  8   Resp. at 15, M. Hart-Rico Resp. at 15. All told, given that the Creation Period was
  9   sixty years ago, that Don Rico has been deceased for four of those decades, that the
 10   Ricos are just individuals without sophisticated document retention platforms, the
 11   Ricos were still able to make a considerable production of responsive documents.
 12         Downplaying the Ricos’ substantial production, Marvel strains to
 13   manufacture inferences that the Ricos’ efforts are somehow deficient by
 14   intentionally conflating the different defendants. Specifically, Marvel’s Motion
 15   cited its responses to Nanci Solo’s Second Set of Interrogatories—which Solo had
 16   propounded in the Eastern District of New York—to boast about Marvel’s
 17   purported search efforts and to fabricate inferences of alleged deficiencies by the
 18   Ricos. Lens Decl. Ex. 23. Marvel’s citation to these interrogatories is problematic
 19   for several reasons.
 20         First, Marvel went out of its way in its responses to Solo’s Interrogatories to
 21   object to the use of those responses in any case other than the Solo case. Lens Decl.
 22   Ex. 23 at 12 (“MCI further objects to this Interrogatory to the extent that any of the
 23   defendants, who are all represented by the same counsel-of-record, attempt to use it
 24   in any of the other pending cases.”).) Yet, Marvel has no issue citing those “off
 25   limit” interrogatory responses here.
 26         Second, Marvel alleges that the Ricos have not produced all responsive
 27   documents. As support for this innuendo, Marvel cites the Ricos’ interrogatory
 28   responses because those answers did not state that the Ricos had produced all
                                              - 26 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22    Page 30 of 42 Page
                                     ID #:800


  1   responsive documents. See Section III(B), supra. What Marvel does not tell the
  2   Court is that Marvel’s interrogatories did not ask if the Ricos had produced all
  3   responsive documents. See e.g., Lens Decl. Ex. 14 M. Hart-Rico Resp. at 14
  4   (“Describe Your efforts to identify, obtain and/or collect Documents responsive to
  5   MCI’s Requests for Production.”). Marvel cannot fabricate an inference from the
  6   answer to a question that the Ricos were never asked.
  7         The Ricos have conducted reasonably diligent searches for relevant,
  8   responsive documents. Lens Decl. Ex. 14 B. Rico Resp. at 14-15, M. Hart-Rico
  9   Resp. at 14-15. Subject to their right and obligation to supplement them, the Ricos
 10   productions were substantially completed by August 29, 2022, as projected by
 11   them. Parkkinen Decl. Ex. 37 at 1-2, Ex. 26 at 1; Lens Decl. Ex. 4 at 4. It is
 12   axiomatic that the Ricos cannot produce, nor be compelled to produce documents
 13   that are not within their possession, custody or control. Sidman v. Concord Arena
 14   Parking, LLC, 2021 WL 1940255, at *3 (E.D.N.Y. May 11, 2021) (Where a party
 15   “assert[s] that they have produced all responsive documents . . . and the adversary
 16   believes the production is incomplete, the remedy is not to pound the table and ask
 17   the Court to order additional production.”). Rather, “[i]n the absence of evidence to
 18   the contrary, [a party] is required to accept [the adversary’s] response to this request
 19   that, despite a diligent search, no responsive documents exist.” Sanchez, 2020 WL
 20   1984174, at *4. Marvel’s guesswork is unsubstantiated and its speculation is
 21   tethered to nothing more than its hope to distract this Court. As this is a wholly
 22   insufficient basis for a motion to compel, Marvel’s Motion must be denied. See
 23   Bagdasaryan, 2017 WL 10560536, at *7.
 24                2.     The Ricos do not have Possession, Custody, or Control of
 25                       David Currie’s Documents.
 26         Marvel’s position regarding David Currie’s (“Currie”) documents is
 27   preposterous. Its Motion has no basis because as Marvel knows, the Ricos have
 28   nothing whatsoever to do with Currie, and there is no reason to believe otherwise.
                                               - 27 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 31 of 42 Page
                                     ID #:801


  1   Moreover, to the extent Currie was even relevant to the Ricos, which is doubtful,
  2   the Motion is moot, as Marvel has repeatedly been informed that Currie, on his own
  3   accord, has agreed to cooperate and to produce requested documents. Parkkinen
  4   Decl. Ex. 37 at 1-2.
  5         As background, Currie is a third party to each of the five Marvel termination
  6   cases. He is merely a comic book fan and has no relation to the Ricos. Currie, who
  7   wrote a book, ditko shrugged, about the late Steve Ditko (the creator or co-creator
  8   of Spider-Man and Doctor Strange, which are among the works involved in the
  9   Ditko litigation), had corresponded with Steve Ditko prior to his death and,
 10   thereafter, exchanged a few emails with his nephew, Mark Ditko. Marvel could
 11   have readily chosen to subpoena Currie’s related documents but chose not to.
 12   During the parties’ meet-and-confer discussions in the Ditko case, Marvel took the
 13   position that Patrick Ditko, the defendant in the Ditko case, was obligated to obtain
 14   documents from Currie even though he was an unrelated third party. See e.g., Lens
 15   Decl. Ex. 3 at 2 (arguing “the Ditko family—not Marvel— had and has an
 16   obligation to obtain Currie’s files form him.”).
 17         Currie never corresponded with the Ricos and did not feature Don Rico nor
 18   Don Rico’s Works in his book about Steve Ditko. Currie is a third party to this
 19   litigation and a complete stranger to the Ricos. Notwithstanding this, Marvel, in its
 20   attempt to manufacture inferences of the Ricos’ alleged discovery improprieties and
 21   get in front of this Court—for the first time in its Motion, projects the dubious
 22   obligation it attributed to Patrick Ditko on to the Ricos. See Lens Decl. Ex. 3 at 2.
 23   Worse, Marvel has knowingly misled the Court in its attempt to create such an
 24   inference. See e.g., Section III(B), supra (“defendants (across the pending cases)
 25   were the ones corresponding with Currie and providing him with highly relevant
 26   information.”). To be clear, even Mark Ditko, who corresponded with Currie, is not
 27   a defendant in any of the termination actions. Yet, for its own convenience, Marvel
 28   paints over any distinction between parties and non-parties, and between distinct
                                               - 28 -
Case 2:21-cv-07624-DMG-KES       Document 41-1     Filed 08/30/22    Page 32 of 42 Page
                                      ID #:802


  1   parties to the different litigations, in different jurisdictions and Circuits. Marvel
  2   should be sanctioned for its intentionally misleading statements.
  3         Further still, Marvel’s Motion concerning Currie’s documents should be
  4   denied for the following additional reasons:
  5         First, Marvel’s RFP No. 35, which it cites as the basis for its Motion, did not
  6   request Currie’s documents. Lens Decl. Ex. 21 at 43 (“All Communications with
  7   any of the parties to the following actions: Marvel Characters, Inc. v. Ditko, No.
  8   1:21-cv-07957-LAK (S.D.N.Y.); Marvel Characters, Inc. v. Dettwiler, No. 1:21-
  9   cv-07959-LAK (S.D.N.Y.); Marvel Characters, Inc. v. Lieber, No. 1:21-cv-07955-
 10   LAK (S.D.N.Y.); and Marvel Characters, Inc. v. Solo, No. 1:21-cv-5316-DG-TAM
 11   (E.D.N.Y.).”). The Ricos have never corresponded with Currie and Currie is not a
 12   party to any of the cited actions, nor any action concerning Marvel, for that matter.
 13   This, alone, is sufficient reason to deny Marvel’s Motion.
 14         Second, Currie’s communications with Steve Ditko, who is famous for
 15   creating or co-creating Spider-Man and Doctor Strange, are irrelevant and have
 16   nothing to do with Don Rico or his Works.
 17         Third, the Ricos obviously do not and would not have possession, custody, or
 18   control of Currie’s communications with Steve Ditko or Mark Ditko. A party has
 19   “control” of a document if it “has the legal right to obtain [it] from third parties.”
 20   SEC v. Premier Holding Corp., 2021 U.S. Dist. LEXIS 246096, at *13 (C.D. Cal.
 21   Sep. 7, 2021) (Scott, J.). The Ricos do not, and Marvel has not alleged otherwise,
 22   have any right, let alone a legal right, to obtain documents which are possessed and
 23   owned by Currie.
 24         Fourth, Currie is a third party to this litigation and a stranger to the Ricos.
 25   Thus, Marvel and the Ricos were on equal footing and if Marvel wanted documents
 26   from Currie, it could have readily subpoenaed them. Instead, Marvel pressured the
 27   defendant in the Ditko case to do the work for it. See e.g., Lens Decl. Ex. 10 at 4,
 28   Ex. 15 at 3. Patrick Ditko’s counsel (also counsel of record in this case), in a good
                                                - 29 -
Case 2:21-cv-07624-DMG-KES      Document 41-1      Filed 08/30/22    Page 33 of 42 Page
                                     ID #:803


  1   faith effort to obtain all available information, reached out to Currie to see if he
  2   would be willing to produce potentially relevant documents. Id. Ex. 15 at 3. Several
  3   weeks after that, counsel for Marvel reached out to him as well, and intrusively
  4   suggested that Marvel should send someone to Currie’s home to copy documents.
  5   Parkkinen Decl. Ex. 39 at 1. Alarmed, Currie then retained defendants’ counsel to
  6   assist him, and agreed to produce relevant documents in his possession. To that end,
  7   defendants’ counsel then informed Marvel that any future correspondence should
  8   be directed to them, and informed Marvel that Currie has agreed to produce
  9   relevant documents in his possession. Lens Decl. Ex. 18; Parkkinen Decl. Ex. 26 at
 10   1. The Ricos do not have possession, custody, or control over Currie’s documents
 11   and, as Marvel knows this non-issue is, in any event, moot. For all of the above
 12   reasons, Marvel’s Motion should be denied.
 13                3.     The Ricos do not have Possession, Custody, or Control of the
 14                       Kirbys’ Documents; the Kirbys are Producing Them.
 15         Similarly, the Ricos do not have possession, custody, or control of documents
 16   belonging to Susan, Barbara, Neal, or Lisa Kirby (collectively, the “Kirbys”) from
 17   the Kirby case. Marvel again conflates parties and non-parties, lumping everyone
 18   with the same counsel together in an inappropriate bid to short cut the Federal Rules
 19   Civil Procedure. Simply because the Ricos have the same counsel that the Kirbys had
 20   years ago, does not mean that documents belonging to the Kirbys now belong to the
 21   Ricos. The Ricos made this point clear from the beginning. Parkkinen Decl. Ex. 40
 22   at 28. (“As far as the Kirby documents are concerned, these obviously belong to the
 23   Kirbys who are not parties. The Kirbys’ documents may be obtained through
 24   appropriate third-party discovery, however, both Marvel and Weil, Gotshal
 25   (Marvel’s counsel in the Kirby case) are already in possession of all these
 26   documents.”). In response, Marvel agreed to follow proper procedure and sent each
 27   of the four Kirbys a subpoena requesting the documents from the Kirby case. The
 28   Kirbys then produced more than 4,000 pages from the Kirby case, notwithstanding
                                               - 30 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22    Page 34 of 42 Page
                                     ID #:804


  1   that the case has not been active for nearly a decade. The Ricos also made reasonably
  2   diligent searches for documents relating to the Kirby case, but unsurprisingly have
  3   no such responsive documents.
  4         Moreover, per the agreement of the parties—i.e., Marvel would produce all
  5   Kirby documents in its possession or control, then the Kirbys and defendants would
  6   produce any such documents in their possession which Marvel had not already
  7   produced—the Kirbys are in the process of reviewing their files and will produce
  8   responsive, non-duplicative documents. Lens Decl. Ex. 9 at 1. As Marvel is aware,
  9   the Kirbys committed to substantially complete this production by August 29, 2022
 10   and have done so, further mooting this Motion. Parkkinen Decl. Ex. 37 at 1-2, Ex.
 11   26 at 1; Lens Decl. Ex. 4 at 4.
 12                4.     Marvel did not Meet and Confer Regarding Communications
 13                       with the Copyright Office, which the Ricos Already Produced.
 14         As previously stated, Marvel did not meet and confer regarding the
 15   production of the Ricos’ termination notices (already in Marvel’s possession) and
 16   pro forma communications with the Copyright Office with respect thereto. See
 17   Section IV(C), supra. Marvel raised the topic for the first time in its Motion and
 18   this alone, is reason enough to deny Marvel’s Motion. Rogers v. Giurbino, 288
 19   F.R.D. 469, 477 (S.D. Cal. 2012). In addition, this Court should deny Marvel’s
 20   Motion because the Ricos have in fact produced their termination notices and
 21   communications with the Copyright Office mooting the Motion. Indeed, Marvel’s
 22   receipt of the Ricos’ termination notices is what inspired Marvel to file suit in the
 23   first place. Complaint ¶¶ 17-19. Marvel further ignores that the Ricos attached their
 24   termination notices as Exhibit A to their Answer & Counterclaim. Counterclaim
 25   Ex. A (Dkt. 22-1). The Ricos also produced their correspondence with the
 26
 27
 28
                                               - 31 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 35 of 42 Page
                                     ID #:805


  1   Copyright Office by August 29, 2022, as promised. See RICO-0127–RICO-0135.
  2   Accordingly, Marvel’s Motion is moot and should be denied on that basis as well.
  3                5.    There are No Documents Associated with Buz Rico’s Website
  4                      or Facebook Page.
  5         As previously stated, Marvel never raised the issue of Buz Rico’s Facebook
  6   page during any of the parties’ meet-and-confer discussions. But, had it done so, the
  7   Ricos would have explained, as they did repeatedly for Buz Rico’s website, that
  8   there are no relevant documents associated with either site. Lens Decl. Ex 15 at 3
  9   (“As for Buz Rico’s website, no documents (only images copied from the internet)
 10   were associated with that site.”). These simple websites—which Buz Rico hosted in
 11   remembrance of his late father, Don Rico, and his wide-ranging contributions to the
 12   world of art—were small personal projects comprised of various copy-and-pasted
 13   bits of information Buz Rico found elsewhere online. Parkkinen Decl. Ex. 26 at 1.
 14   Buz Rico has repeatedly verified in his interrogatory responses that he has
 15   diligently searched, among other places, his computer for any documents
 16   responsive to Marvel’s RFPs (Lens Decl. Ex. 14 at 4) and that there are no relevant
 17   documents associated with either site, other than the site themselves. Parkkinen
 18   Decl. Ex. 26 at 1; Lens Decl. Ex 15 at 3. It was only after Marvel served its Motion
 19   that it then requested copies of the websites themselves, notwithstanding that
 20   Marvel already had full access to sites. See Lens Decl. Exs. 11, 19. And, once
 21   again, the Ricos, in a good faith attempt to resolve all issues without burdening this
 22   Court, agreed to produce, and thereafter produced copies of the websites,
 23   notwithstanding that these public internet sites were readily accessible by Marvel.
 24   Parkkinen Decl. Ex. 26 at 6.
 25         Again, there are no relevant documents in the Ricos’ possession or control
 26   regarding Buz Rico’s old website or Facebook page, and Marvel has not carried its
 27   burden to show otherwise. Gary Friedrich Enters., 2011 WL 2623458, at *1; see
 28   also Bagdasaryan, 2017 WL 10560536, at *7 (“[T]he moving party must have a
                                              - 32 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 36 of 42 Page
                                     ID #:806


  1   colorable basis for its belief that relevant, responsive documents exist and are being
  2   improperly withheld.”).
  3         To manufacture suspicion, Marvel has assumed that, because Buz Rico’s
  4   website requested that visitors send in scanned copies of Don Rico’s artwork, that (i)
  5   anyone actually did so, and (ii) that any such artwork is remotely relevant to the two
  6   Works at issue in this case. Marvel assumes too much, and has provided no support
  7   for either speculation. In any event, Buz Rico has verified that he has diligently
  8   searched his computer files for responsive documents and has informed Marvel, on
  9   numerous occasions, that there are no responsive documents associated with the
 10   website or Facebook page. Lens Decl. Ex. 14 at 15, Ex. 15 at 3; Parkkinen Decl. Ex.
 11   26 at 1.
 12         Marvel next tries to manufacture an inference of impropriety from the
 13   website’s quoting of Mark Evanier, stating: “[Don] Rico told me he used the pen
 14   names because he was writing novels at the time and didn’t want his publisher to
 15   know . . .” Lens Decl. Ex. 19 at 2. Marvel’s wishful inference assumes that this
 16   anecdotal statement by Don Rico to Evanier was written, rather than oral, and further
 17   assumes that, even if it were written, that Don Rico and thereafter, the Ricos, would
 18   possess this correspondence, rather than the much more likely scenario that a letter
 19   sent to Mark Evanier by Don Rico, if any and if retained, would be in Mr. Evanier’s
 20   possession. Again, Marvel provides no support for its incongruent assumptions.
 21         Buz Rico has unequivocally and repeatedly affirmed that he does not have
 22   any responsive documents associated with the website or Facebook page. Marvel’s
 23   support for its position amounts to mere guesswork. Such speculation does not
 24   provide a sufficient basis to compel the Ricos to produce documents they do not
 25   have and which may not exist. Carter v. Dawson, 2010 WL 4483814, at *5 (E.D.
 26   Cal. Nov. 1, 2010) (defendants’ assertion that they are unable to locate responsive
 27   documents does not provide a ground for granting a motion to compel “unless
 28   Plaintiff can identify a specific document that Defendants have withheld”); Ayala v.
                                              - 33 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22    Page 37 of 42 Page
                                     ID #:807


  1   Tapia, 1991 WL 241873, at *2 (D.D.C. Nov. 1, 1991) (denying motion to compel
  2   where moving party could not identify documents that were withheld); In re
  3   Lorazepam & Clorazepate Antitrust Litig., 219 F.R.D. 12, 17 (D.D.C. 2003) (“The
  4   federal courts are often confronted with a party’s complaint that its opponent must
  5   have documents that it claims not to have. Such suspicion is, however, insufficient
  6   to warrant granting a motion to compel.”). Accordingly, Marvel’s Motion should be
  7   denied.
  8         F.     Marvel Should be Sanctioned for Its Frivolous Motion
  9         “If [a] motion [to compel] is denied, the court . . . must, after giving an
 10   opportunity to be heard, require the movant, the attorney filing the motion, or both to
 11   pay the party or deponent who opposed the motion its reasonable expenses incurred
 12   in opposing the motion, including attorney’s fees [unless] the motion was
 13   substantially justified or other circumstances make an award of expenses unjust.”
 14   Fed. R. Civ. P. 37(a)(5)(B).
 15         Here, sanctions awarding the Ricos their attorney’s fees in preparing their
 16   portion of the Joint Stipulation, pursuant to Federal Rule of Civil Procedure
 17   37(a)(5)(B), are more than appropriate because Marvel’s Motion lacks substantial
 18   justification, was solely brought to serve as a counterweight to the Ricos’ substantive
 19   motion to compel, and in any event, the exaggerated issues in Marvel’s Motion were
 20   mooted by the Ricos’ August 18, 2022 offer. Parkkinen Decl. Ex. 26 at 1.
 21          “There is no bright line standard for ‘substantial justification’[.]” Trujillo v.
 22   Princess Cruise Lines, 2021 U.S. Dist. LEXIS 156697, at *43 (C.D. Cal. Apr. 23,
 23   2021), quoting Brown v. State of Iowa, 152 F.R.D. 168, 173 (S.D. Iowa 1993). In
 24   determining whether there is substantial justification, “[c]ourts have generally
 25   focused on the quality of the justification and the genuineness of the dispute[.]” Id.
 26   (internal citations and quotations omitted). Here, as demonstrated above, there is no
 27   genuine dispute between the parties. After the Ricos received Marvel’s portion of the
 28   Joint Stipulation, they reached out offering to resolve the few action-items Marvel
                                               - 34 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22    Page 38 of 42 Page
                                     ID #:808


  1   raised in its Motion. Parkkinen Decl. Ex. 26 at 1. Marvel, first tellingly ignored the
  2   Ricos’ good faith offer and then, only when prompted by the Ricos to respond,
  3   refused (without justification), failed to provide any counter-proposal, and
  4   steamrolled ahead with its moot makeweight Motion. Id. Ex. 26 at 5-6. Marvel should
  5   further be sanctioned because it did not meet and confer on issues raised in its Motion.
  6   See Monster Energy Co. v. Vital Pharm., 2021 U.S. Dist. LEXIS 205554, at *16
  7   (C.D. Cal. Oct. 12, 2021) (awarding attorney’s fees and finding motion to compel not
  8   “substantially justified” when movant failed to properly meet and confer).
  9         Further still, Marvel and its counsel should be sanctioned for intentionally
 10   seeking to mislead the Court in their Motion by willful misrepresentations and the
 11   forging of knowingly false inferences. 28 U.S.C. § 1927 (“Any attorney or other
 12   person admitted to conduct cases in any court of the United States or any Territory
 13   thereof who so multiplies the proceedings in any case unreasonably and vexatiously
 14   may be required by the court to satisfy personally the excess costs, expenses, and
 15   attorneys’ fees reasonably incurred because of such conduct.”); In re Girardi, 611
 16   F.3d 1027, 1061 (9th Cir. 2010) (“A “finding that the attorney recklessly or
 17   intentionally misled the court is sufficient to impose sanctions under [28 U.S.C.] §
 18   1927, and a finding that the attorneys recklessly raised a frivolous argument which
 19   resulted in the multiplication of the proceedings is also sufficient to impose sanctions
 20   under § 1927.”); Robinson v. The Chefs’ Warehouse, 2017 U.S. Dist. LEXIS 93339,
 21   at *17-18 (N.D. Cal. June 16, 2017). The misrepresentations outlined above,
 22   particularly the most blatant ones concerning Currie, served as a knowingly false
 23   basis to misdirect the Court’s attention away from Marvel’s own discovery failures
 24   (which led to Judge Kaplan’s Order in the S.D.N.Y. cases and the Ricos’ motion to
 25   compel herein). Such gamesmanship should not be tolerated by the Court or
 26   encouraged by a failure to hold Marvel and its counsel accountable.
 27         The Ricos seek to recover attorney’s fees incurred in opposing Marvel’s
 28   Motion in the amount of $7,500, which is considerably less than the attorney
                                               - 35 -
Case 2:21-cv-07624-DMG-KES      Document 41-1     Filed 08/30/22   Page 39 of 42 Page
                                     ID #:809


  1   time/fees expended on this completely unnecessary Motion. The Ricos shall provide
  2   support for their fee request as requested by Court.
  3   V.    MCI’S CONCLUSION
  4         For the foregoing reasons, MCI respectfully requests an order compelling
  5   Defendants to, within seven days, (a) produce all non-privileged documents that are
  6   responsive to MCI’s RFPs; and (b) amend their interrogatory responses to confirm
  7   that all non-privileged, responsive documents have been produced.
  8   VI.   THE RICOS’ CONCLUSION
  9         Marvel’s unjustified Motion is nothing more than a retaliatory attempt to
 10   misdirect and distract the Court from Marvel’s serious discovery deficiencies which
 11   are before the Court on the Ricos’ motion to compel. Dkts. 37-38. Marvel’s
 12   makeweight Motion is falsely premised, moot, and must further be denied because
 13   Marvel failed to meet and confer regarding issues raised for the first time therein.
 14   For all of these reasons, the Ricos respectfully request that this Court deny Marvel’s
 15   Motion in its entirety. The Ricos further request sanctions in the form of attorney’s
 16   fees incurred in opposing Marvel’s demonstrably frivolous Motion.
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                              - 36 -
Case 2:21-cv-07624-DMG-KES   Document 41-1   Filed 08/30/22   Page 40 of 42 Page
                                  ID #:810


  1   Dated:     August 30, 2022             O’MELVENY & MYERS LLP
  2
  3
                                             By: /s/ Daniel M. Petrocelli
  4                                                    Daniel M. Petrocelli
  5                                          Daniel M. Petrocelli
  6                                          dpetrocelli@omm.com
                                             Molly M. Lens
  7                                          mlens@omm.com
  8                                          Danielle Feuer
                                             dfeuer@omm.com
  9                                          1999 Avenue of the Stars, 8th Floor
 10                                          Los Angeles, California 90067
                                             Telephone: (310) 553-6700
 11                                          Facsimile: (310) 246-6779
 12
                                             Allen Burton (admitted pro hac vice)
 13                                          aburton@omm.com
 14                                          Times Square Tower
                                             7 Times Square
 15                                          New York, NY 10036
 16                                          Telephone: (212) 326-2000
                                             Facsimile: (212) 326-2061
 17
                                             Kendall Turner
 18
                                             kendallturner@omm.com
 19                                          1625 Eye Street NW
                                             Washington, DC 20006
 20
                                             Telephone: (202) 383-5300
 21                                          Facsimile: (202) 383-5414
 22                                          Attorneys for Marvel Characters, Inc.
 23
 24
 25
 26
 27
 28
                                         - 37 -
Case 2:21-cv-07624-DMG-KES   Document 41-1   Filed 08/30/22   Page 41 of 42 Page
                                  ID #:811


  1   Dated:     August 30, 2022             TOBEROFF & ASSOCIATES, P.C.
  2
  3
                                             By: /s/ Marc Toberoff
  4                                                    Marc Toberoff
  5                                          Marc Toberoff
  6                                          mtoberoff@toberoffandassociates.com
                                             23823 Malibu Road, Suite 50-363
  7                                          Malibu, CA 90265
  8
                                             Attorneys for Michele Hart-Rico and
  9                                          Buz Donato F. Rico III, heirs of
 10                                          Donato Francisco Rico II
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                         - 38 -
Case 2:21-cv-07624-DMG-KES      Document 41-1      Filed 08/30/22    Page 42 of 42 Page
                                     ID #:812


  1         Pursuant to Local Rule 5-4.3.4(a)(2)(i), the filer attests that all other
  2   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  3   content and have authorized the filing.
  4
  5   Dated:       August 30, 2022                O’MELVENY & MYERS LLP
  6
  7                                               By: /s/ Daniel M. Petrocelli
  8                                                         Daniel M. Petrocelli
  9                                               Attorneys for Marvel Characters, Inc.
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                - 39 -
